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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,

Plaintiffs,
Vv.
XIE JI PING, et al.,

Defendants.

 

 

Case No. 19-cv-01347
Judge John J. Tharp, Jr.

Magistrate Judge Jeffrey T. Gilbert

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on May 16, 2019 [57] in favor

of Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, “Plaintiffs”) and against the

Defendants Identified in Schedule A in the amount of one million dollars ($1,000,000) per

Defaulting Defendant for willful use of counterfeit Plaintiffs’ Trademarks in connection with the

offer for sale and/or sale of products through at least the Defendant Internet Stores, and Plaintiffs

acknowledge payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant: -

 

Defendant Name

Line No.

 

 

west biking cycling equipment co., ltd.

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 20th day of June 2019. Respectfully submitted,

 

Justin R. Gaudio

RiKaleigh C. Johnson

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Counsel for Plaintiffs
Luxottica Group S.p.A and Oakley, Inc.

Subscribed and sworn to me by RikKaleigh C. Johnson, on this 20th day of June 2019.

Given under by hand and notarial seal.

(nhl Se——

CAITLIN SCHLIE Notary Public

Official Seal

Notary Public ~ State of illinois
My Commission Expires Nov 20, 2021

State of Illinois

 

County of Cook
